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                                          EXHIBIT A

                                Revised Proposed ADR Procedures




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

              [PROPOSED] AMENDED ALTERNATIVE DISPUTE RESOLUTION
                   PROCEDURES FOR CERTAIN LITIGATION CLAIMS

        These alternative dispute resolution procedures (the “ADR Procedures”) are designed to
promote the efficient resolution, by settlement discussions or mediation, of certain disputed claims
against the above-captioned debtors and debtors in possession (collectively, the “Debtors”), which
Litigation Claims (as defined herein) may be covered under the Debtors’ Motor Carrier’s
Indemnity Insurance Policies (the “ORIC Policies”) issued by Old Republic Insurance Company
(collectively with its affiliates, “ORIC”). The ADR Procedures will be implemented,
administered, and coordinated by ORIC in consultation with the Debtors, the Committee, and any
participating Third-Party Payors (as hereinafter defined) if applicable. For the avoidance of doubt,
and notwithstanding any other part of these ADR Procedures, the Debtors and the Committee, in
their sole discretion, may choose their level of participation in the process, including whether or
not the Debtors and the Committee choose to participate in the negotiations regarding any claim.
Pursuant to the ADR Order (as defined herein), ORIC, together with the Debtors, the Committee,
and the Third-Party Payors, if applicable, are authorized to evaluate, settle, or otherwise resolve
all claims that are potentially covered under the ORIC Policies and/or by the Third-Party Payors,
without further order of the Bankruptcy Court.

I.           CLAIMS SUBJECT TO ADR PROCEDURES

        Other than the Excepted Claims (as defined herein), the ADR Procedures apply to any
individual or entity (the “Claimant”) holding a claim arising before August 8, 2023 for personal
injury and/or wrongful death, or for property damage, and any related claims, against the Debtors
or any of the Indemnitees (as hereinafter defined) (the “Litigation Claims”),2 including any claim

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      A preliminary list of Claimants holding Litigation Claims that ORIC and the Debtors seek to liquidate through
      the ADR Procedures (the “Litigation Claims List”) is annexed hereto as Exhibit A. If ORIC becomes aware of
      any additional Claimant(s) (including by notification (email being sufficient) from the Debtors, the Committee,
      or any Third-Party Payor (as defined below)), an amended list will be filed with the Bankruptcy Court and an
      ADR Notice will be served on such additional Claimant(s) no later than 30 days following ORIC becoming aware
      of such Claimant(s).
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that is related thereto by way of, without limitation, subrogation, contribution, or indemnification.
Litigation Claims include claims against non-debtor third parties, which claims are covered in
whole, or in part, by the Debtors’ insurance policies or for which the Debtors retain ultimate
liability pursuant to contract, corporate by-laws and/or insurance policies and related agreements
(such non-debtor third parties are collectively referred to as the “Indemnitees” and individually, as
an “Indemnitee”). Indemnitees shall include, but are not limited to: (a) any of the Debtors’ or their
predecessor in interest’s current or former agents, representatives, drivers, or employees; (b) any
person indemnified by the Debtors; (c) any person or entity listed as an additional insured under
any of the Debtors’ insurance policies (including, but not limited to, the ORIC Policies); (d) any
current or former direct or indirect parent corporation, affiliates or subsidiaries of the Debtors;
(e) the officers, directors, and or employees of the Debtors or of any such parent, affiliate or
subsidiary; and (f) any other entity or individual sharing coverage with the Debtors.

        The following claims shall not be subject to the ADR Procedures and shall not be Litigation
Claims (collectively, the “Excepted Claims”): (a) workers’ compensation claims; (b) claims
arising under a real property lease against the Debtors or any of the Indemnitees for damages to
the leased premises or other property covered by such lease; (c) direct claims against the Debtors’
insurers arising out of claims for bodily injury and/or wrongful death in those states allowing
direct actions against insurers; (d) claims (if any) where the automatic stay has been lifted during
the chapter 11 cases and which are being actively litigated in a nonbankruptcy forum; (e) any
claims or actions relating to any claims between the Debtors’ insurers, on one hand, and the
Debtors, on the other, including, but not limited to, any action relating to the claims of the insurers
and any actions relating to any irrevocable standby letters of credit or other collateral provided by
or for the benefit of the Debtors to the insurers, including any letters of credit that were drawn
down by ORIC or any Third-Party Payor (as defined herein) prior to or after commencement of
the chapter 11 cases (collectively, the “Insurers’ LOC Proceeds/Collateral”); and (f) any
declaratory judgment actions regarding insurance coverage issues.

       A Claimant need not have commenced any litigation, lawsuit, or any other proceeding
against one or more Debtors or their insurers to have a Litigation Claim.

II.      THIRD-PARTY PAYORS

        ORIC shall provide the Debtors’ other insurers, including excess liability insurers, and any
other third-party payors (collectively, the “Third-Party Payors”), to the extent such insurers or
payors are known to ORIC, notice of any Potential Third-Party Payor Litigation Claim (as
hereinafter defined). Potential Third-Party Payor Litigation Claims are Litigation Claims for
which (i) the demand in a proof of claim or in the Claimant’s Demand (as defined herein) exceeds
the limits of any potentially applicable ORIC Policy, (ii) the information in a Claimant’s proof of
claim or Claimant’s Demand reasonably indicates that a Third-Party Payor may be responsible for
payment, in whole or in part, of the claim and/or (iii) a Third -Party Payor has been named as a
party in a suit or similar action or a demand or claim has been tendered against the Third-Party
Payor directly (the “Potential Third-Party Payor Litigation Claims”).

        The applicable Third-Party Payor shall have the right, but not the obligation (except as may
be provided in the applicable policy), to participate in any discussions, negotiations, dispute
resolutions, mediations, and litigation (the “Proceedings”). The failure of the applicable Third-

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Party Payor to respond to such notice or to decline to participate in the Proceedings at any time
(i) shall not be construed as a waiver of the right to participate in the Proceedings, and (ii) shall
not preclude the applicable Third-Party Payor from intervening or participating, in any way, in the
Proceedings at any time. If the applicable Third-Party Payor(s) elect(s) to participate in any
applicable stage of the ADR Procedures, ORIC (to the extent ORIC is aware of such Third-Party
Payor(s)) will send all relevant communications to the applicable Third-Party Payor(s). Further
details regarding the notice provided to the Third-Party Payors and any election to participate are
set forth in Section V below.

        Any amount of a Litigation Claim resolved by these ADR Procedures shall be paid in
accordance with the terms, provisions, conditions, and exclusions of Debtors’ insurance policies
(including, but not limited to, the ORIC Policies) by ORIC and/or the Third-Party Payor, who may
then exercise any right to reimbursement they may have under such policies and related agreements
against the Insurers’ LOC Proceeds/Collateral. For the avoidance of doubt, if a settlement is
reached pursuant to these ADR Procedures, ORIC and the Third-Party Payor (if applicable) will
be obligated to and will actually pay the agreed-upon settlement amount(s) directly to or on
behalf of the Claimant. If the Insurers’ LOC Proceeds/Collateral has been exhausted, then ORIC
or the Third-Party Payor may assert a general unsecured claim for the reimbursement of any such
amount(s) paid by ORIC or the Third-Party Payor to resolve a Litigation Claim resolved by these
ADR Procedures, subject to the right of all parties (including the Debtors and the Committee) to
object, and, if allowed, such claim shall be treated and satisfied in accordance with the chapter 11
plan to be filed by the Debtors (the “Plan”). Any settlement of a Litigation Claim shall include a
waiver and release of all claims against the Debtors, their chapter 11 estates, the Indemnitees, and
ORIC (and the Third-Party Payor, if applicable), unless the Debtors and the Committee consent
otherwise.

III.      RESERVATION OF RIGHTS

        Nothing in these ADR Procedures shall: (i) modify, alter, or amend the terms, provisions,
conditions or exclusions of any insurance policies issued or providing coverage to the Debtors or
of any related agreements; (ii) modify the Debtors and/or their estates’ obligations (if any) to pay
any retentions or to pay (or reimburse an insurer for) any deductibles; (iii) release ORIC or the
Debtors and/or their estates of any of their obligations (if any) under any insurance policies and
related agreements; (iv) create or permit a direct right of action by any Litigation Claimant against
any insurers of any of the Debtors and/or of any non-Debtors; (v) preclude or limit, in any way,
the rights of any insurer to contest and/or litigate the existence, primacy, and/or scope of available
coverage under any allegedly applicable insurance policy or to otherwise assert any defenses to
coverage; or (vi) constitute a finding, admission or determination as to the existence of coverage
or the applicability of any insurance policy and its respective terms, provisions, conditions or
exclusions, with respect to any Litigation Claims. Notwithstanding anything in these ADR
Procedures, the administration of any Litigation Claim pursuant to these ADR Procedures shall
not give rise to any administrative claim against the Debtors or their estates.

        By participating in these ADR Procedures, ORIC and the Third-Party Payors do not waive
any coverage defenses they might have, including the right to deny coverage, and do not waive
any claims they might have against the Debtors or any other person or entity. ORIC and the Third-
Party Payors reserve all of their rights to seek to apply any of the terms, provisions, conditions or

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exclusions set forth in the insurance policies issued to the Debtors (including, but not limited to,
the ORIC Policies) and to review and reevaluate coverage determinations as facts and
circumstances may warrant. The Debtors and all parties in interest reserve all rights, claims, and
defenses related to any coverage disputes related to these ADR Procedures or any of the insurance
policies issued to the Debtors. Further, the Debtors and all parties in interest reserve all rights,
objections, and defenses with respect to any general unsecured claims asserted against the Debtors
pursuant to these ADR Procedures.

        Nothing in these ADR Procedures shall modify or alter any requirement for a Claimant to
file a proof of claim in the Debtors’ chapter 11 cases by the applicable deadlines established by
the Bankruptcy Court. The Debtors and all parties in interest reserve all rights, claims, and
defenses with respect to any proof of claim related to a Litigation Claim or the lack of a timely
filed proof of claim related to a Litigation Claim. [For the avoidance of doubt, ORIC shall not
settle any Litigation Claim with a Claimant who has not filed a timely proof of claim, without the
prior written consent of the Debtors and the Committee (such consent not to be unreasonably
withheld).]

IV.      ADR INJUNCTION

        Upon entry of the order of the United States Bankruptcy Court for the District of Delaware
entered in the above-captioned cases establishing the ADR Procedures (the “ADR Order”), all of
the Claimants (and any other persons or entities asserting an interest in the relevant Litigation
Claim) shall be and shall continue to be, as applicable, enjoined from commencing or continuing
any action or proceeding in any manner or any place, including the Bankruptcy Court, seeking to
establish, liquidate, collect or otherwise enforce any Litigation Claim against any Debtor other
than through the ADR Procedures described herein (or as otherwise agreed by the Debtors and the
Committee) (collectively, the “ADR Injunction”). The ADR Injunction shall be in addition to, and
cumulative with, the injunction applicable to the Litigation Claims and the Claimants, including
the automatic stay, any other injunctions under the Bankruptcy Code, or as set forth in any
chapter 11 plan of the Debtors (the “Plan Injunction”).

       In addition, the ADR Injunction shall enjoin the Claimants to the fullest extent permitted
by applicable law from proceeding against (i) the Indemnitees and (ii) ORIC and all Third-Party
Payors, in each case solely with respect to the Litigation Claims, and with the exception of the
Excepted Claims. If the ADR Injunction is lifted by order of the Bankruptcy Court, the Claimants
may proceed with their Litigation Claims in accordance with the terms of any such order.

        The ADR Injunction shall expire with respect to a Litigation Claim only after (i) the ADR
Procedures have been completed with respect to such Litigation Claim, and (ii) only as provided
for herein.

V.       ADR PROCEDURES

        Prior to sending the ADR Notice (as defined herein) to the Claimant(s), ORIC, to the extent
it is aware of such Third-Party Payors, shall provide notice to any known applicable Third-Party
Payors and the Committee (the “Advance Notice”) of any Potential Third-Party Payor Litigation



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Claim. If applicable, the Advance Notice may also include any Immediate Claim Settlement Offer
(as defined herein) that ORIC and the Debtors propose to make to a Claimant.

       Within 10 days of service of the Advance Notice, the Third-Party Payor must advise ORIC
and the Debtors in writing (electronic mail being sufficient) if it elects to participate in the Offer
Exchange Procedures (as defined herein) as to that particular Litigation Claim. If the Third-Party
Payor does not respond within 10 days of service of the Advance Notice, ORIC and the Debtors
may proceed to engage in the Offer Exchange Procedures; provided, however, that ORIC and the
Debtors shall not make or accept any settlement offers without the prior written consent of the
Third-Party Payor unless such settlement offers do not require any payment by such Third- Party
Payor.

       ORIC shall pay all fees and costs related to the administration of these ADR Procedures
and the subsequent defense of the Litigation Claims, including with respect to the defense of the
Debtors or any of the Indemnitees, from the Insurers’ LOC Proceeds/Collateral. To the extent the
Insurers’ LOC Proceeds/Collateral has been exhausted, then ORIC may assert a general unsecured
claim for the reimbursement of any such fees or costs, which shall be treated and satisfied in
accordance with the Plan.

        Any payments under any of the Debtors’ insurance policies in excess of $500,000 (or, to
the extent that the Insurers’ LOC Proceeds/Collateral have been exhausted, $250,000) with respect
a Litigation Claim shall require the Debtors’ and the Committee’s written consent (not to be
unreasonably withheld); which consent shall be deemed given if the Debtors and the Committee
do not respond to ORIC’s request for consent within twenty-four hours if the offer is made outside
an in-person mediation and within three hours if the offer is made during the course of a formal
in-person mediation (including an ongoing Zoom mediation). As further explained above and
otherwise in Section V.I, for any settlement reached pursuant to the ADR Procedures, ORIC
(and/or any Third-Party Payor, if applicable) will be obligated to and will actually pay the
agreed-upon settlement directly to or on behalf of the Claimant.

         A.        Stage 1: ADR Notice

       As soon as reasonably practicable, but no later than 60 days following entry of an order
approving the ADR Procedures and the date the Advance Notice is served, ORIC and the Debtors
(if they exercise their discretion to participate) will serve a notice (the “ADR Notice”),
substantially in the form annexed hereto as Exhibit B, to the holders of Litigation Claims and the
Committee. The ADR Notice will inform the Claimants that the Litigation Claim is included in
the ADR Procedures and, either (i) make the Immediate Claim Settlement Offer (as is hereinafter
defined), or (ii) require the Claimant to return the ADR Notice with the Claim Information and
Settlement Demand Form (as hereinafter defined) and provide supporting claim information.
Upon the Claimant’s request, ORIC and the Debtors will also provide copies of the applicable
insurance policy or policies relevant to a particular Litigation Claim.

       The ADR Notice shall require the Claimant to respond to the ADR Notice so that ORIC
and the Debtors will actually receive the response no later than 40 days after the date on which the
ADR Notice is served (the “Claimant Response Deadline”).



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        For purposes of the ADR Procedures, service on a Claimant and any communications
(including responses) to a Claimant shall be deemed adequate if such service is provided to the
Claimant: (i) at the email address(es) of their counsel, if counsel has appeared, specified in their
filed proof of claim or in the pending litigation, if any; (ii) if Claimant does not have counsel, then
at the email address(es) of Claimant, if known; and (iii) by mail. If no email address is known for
the Claimant or the Claimant’s counsel, ORIC and the Debtors shall serve Claimant using a
regularly recognized delivery service so that Claimant receives the notice within five days of
mailing. Service on ORIC and the Debtors and any communications (including responses) to
ORIC and the Debtors shall be deemed adequate if made by email at the email addresses set forth
in the ADR Notice or if made by using a regularly recognized overnight delivery service sent to
the addresses set forth in the ADR Notice.

                   1.           Immediate Claim Settlement Offer

        ORIC may, but is not required to, include in the ADR Notice an offer to pay the Litigation
Claim in the amount asserted by the Claimant or any lesser or different amount less than the caps
set forth in Section V.B.1.b., as determined from ORIC and (if they elect to participate) the
Debtors’ reasonable review of the Litigation Claim (“Immediate Claim Settlement Offer”). If an
Immediate Claim Settlement Offer is included in the ADR Notice, the Claimant shall have the
option to sign and return the Immediate Claim Settlement Offer without providing any additional
information required by the ADR Procedures, in which case the Litigation Claim will be paid by
ORIC (and/or another Third-Party Payor, if applicable) in accordance with the applicable
insurance policy. If the Claimant fails to respond to the Immediate Claim Settlement Offer by the
Claimant Response Deadline, ORIC and the Debtors shall re-serve the ADR Notice (the “Second
ADR Notice”) on the Claimant in accordance with the service requirements set forth in
Section V.A above, and the Claimant will have an additional 30 days from the date of service of
the Second ADR Notice to respond to the Second ADR Notice (the “Second Claimant Response
Deadline”). If the Claimant elects to reject the Immediate Claim Settlement Offer, the Claimant
must complete and return the ADR Notice and the Claim Information and Settlement Demand
Form by the Claimant Response Deadline or the Second Claimant Response Deadline, as
applicable, and as otherwise set forth in Section V.A.2 below.

        Failure of the Claimant to sign and return the Second ADR Notice and Immediate
Claim Settlement Offer by the Second Claimant Response Deadline will be deemed as a
failure to comply with the ADR Procedures under Section VI below. The Claimant’s ability
to proceed with and participate further in the ADR Procedures will be at the discretion of
ORIC and the Debtors and Committee (if they elect to participate), if applicable.

                   2.           Claim Information and Settlement Demand Form

        The ADR Notice will include a form (the “Claim Information and Settlement Demand
Form”) that requires the Claimant to (a) make a settlement demand (the “Claimant’s Demand”),
and (b) provide ORIC and the Debtors and (if they elect to participate) certain information and
documentation that will enable ORIC and the Debtors to evaluate the Litigation Claim and the
Claimant’s Demand. If ORIC and the Debtors elect not to make an Immediate Claim Settlement
Offer, or if the Claimant elects to reject an Immediate Claim Settlement Offer, the Claimant must
return the completed ADR Notice and the Claim Information and Settlement Demand Form by the

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Claimant Response Deadline (or, if applicable, the Second Claimant Response Deadline). The
Claimant shall not be required to provide duplicative information to the extent the Claimant has
already provided the requested claim information as supporting documentation attached to the
relevant proof of claim.

        The Claimant’s Demand may not exceed the amount of, or improve the priority set forth
in, the Claimant’s most recent timely-filed proof of claim, if one was filed. The Claimant’s
Demand may liquidate any unliquidated amounts asserted in a proof of claim. The Claimant may
not return the Claim Information and Settlement Demand Form with an unknown, unliquidated,
indefinite, contingent, or similar description of the Litigation Claim or the amount thereof.

        Failure of a Claimant to timely return the completed ADR Notice and the Claim
Information and Settlement Demand Form, unless otherwise agreed to in writing by ORIC,
the Debtors, and the Committee will be deemed as a failure to comply with the ADR
Procedures under Section VI below. The Claimant’s ability to proceed with and participate
in the ADR Procedures will be at the discretion of ORIC, and the Debtors and the Committee
(if they elect to participate), if applicable.

         B.        Stage 2: Offer Exchange Procedures

       The second stage of the ADR Procedures will be the following settlement offer and
exchange procedure, requiring the parties to exchange information and settlement offers and
thereby providing the opportunity to resolve the Litigation Claim on a consensual basis without
any further litigation (the “Offer Exchange Procedures”).

        If, after service of the ADR Notice, the Claimant fails to timely respond within any of the
deadlines set forth in these Offer Exchange Procedures, ORIC and the Debtors (if they elect to
participate) will have the option of (i) advancing resolution of the Litigation Claim to mediation
by advising the Claimant that the Litigation Claim will proceed to the next stage of the ADR
Procedures, or (ii) pursuing their rights under Section VI below.

                   1.           Response

       Within 45 days after ORIC and (if they elect to participate) the Debtors’ receipt of a
Claimant’s Demand, ORIC and the Debtors shall serve a response on the Claimant and their
counsel, if identified (the “Response”). The Response shall either: (a) accept the Claimant’s
Demand; (b) make an offer to settle the Litigation Claim (the “Offer”); or (c) request additional
information.

         If the Claimant’s Demand indicates that it is a Potential Third-Party Payor Litigation
Claim, ORIC and the Debtors will provide 10 days’ notice to the applicable Third-Party Payor of
its rights to elect to participate in the Offer Exchange Process. If the Third-Party Payor elects to
participate in the Offer Exchange Process, ORIC shall not make or accept any settlement offers
without the prior written consent of the Third-Party Payor; provided, however, that if the
settlement amount does not require payment by such Third- Party Payor, ORIC and the Debtors
may proceed to make or accept settlement offers without the consent of the Third- Party Payor.



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                                A.      Acceptance of Claim. ORIC and the Debtors (and/or the Third-
                                Party Payor, if applicable) may accept the Litigation Claim as asserted in
                                the Claimant’s Demand. In such event, the Litigation Claim will be actually
                                paid by ORIC (or the Third-Party Payor, if applicable).

                                b.       Offer. ORIC and the Debtors may make a written good faith offer
                                of settlement based upon its review of the Litigation Claim. The Offer shall
                                be made in consultation with the Third-Party Payors with respect to
                                Potential Third-Party Payor Litigation Claims. Any Offer in excess of
                                $500,000 (or, to the extent that the Insurers’ LOC Proceeds/Collateral have
                                been exhausted, $250,000) shall require the Debtors’ and the Committee’s
                                written consent (not to be unreasonably withheld), which consent shall be
                                deemed given if not expressly withheld within twenty-four hours if the
                                Offer is made outside an in-person mediation and within three hours if the
                                Offer is made during an in-person mediation (including an ongoing Zoom
                                mediation).

                                c.      Additional Information. ORIC, the Debtors, and the Committee,
                                (and/or the Third-Party Payor, if applicable) may request a reasonable
                                amount of supplemental information or clarification of information to assist
                                in a good faith evaluation of any particular Litigation Claim. The Claimant
                                shall serve such additional reasonable information so that ORIC and the
                                Debtors (and the Third-Party Payor, if applicable) actually receive such
                                information within 25 days of the mailing (or e-mailing if the Claimant has
                                counsel) of such request. If the Clamant timely responds to such a request,
                                the time period within which ORIC and the Debtors (and/or the Third-Part
                                Payor, if applicable) may otherwise respond to the Claimant’s Demand shall
                                be extended until 30 days after ORIC and the Debtors (and the Third-Party
                                Payor, if applicable) have actually received the supplemental information.
                                The Litigation Claim will not be processed further until the additional
                                information requested has been provided.

                   2.           Claimant’s Reply.

       Each Claimant shall have 30 days after service of the Offer within which to reply (the
“Reply Deadline”). The Claimant’s reply shall be in writing and signed by the Claimant or an
authorized representative.

        If the Offer is accepted, the Litigation Claim shall be paid as set forth in Section V.I below.
If the Offer is rejected, or the Claimant does not respond by the Reply Deadline., the Litigation
Claim will automatically advance to the next stage of the ADR Procedures. If the Claimant does
not respond by the Reply Deadline, ORIC and the Debtors may seek relief in accordance with
Section VI below.




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                   3.           Confidentiality of Offer Exchange Procedures

        All offers made and communications exchanged during the Offer Exchange Procedures
shall be provided to ORIC, the Debtors, and the Committee. All such communications shall be
confidential among ORIC, the Debtors, the Committee, applicable Third-Party Payors, and the
relevant Claimant, and no party shall disclose the contents of such offers or communications
without the prior written consent of each of the other parties. Any and all statements and offers
made during the Offer Exchange Procedures shall be subject to Federal Rule of Evidence 408 and
shall not be subject to discovery in any subsequent proceeding.

         C.        Stage 3: Informal Resolution Procedures

        If a settlement is not reached as a result of the Offer Exchange Procedures outlined in
Section V.B above, then counsel for ORIC, the Debtors (if they elect to participate), and the Third-
Party Payor, if applicable, and the Claimant, or counsel for the Claimant, if represented by counsel,
will meet in-person or over Zoom within seven days to negotiate further to determine if a resolution
can be reached (the “Informal Resolution Procedures”).

         D.        Stage 4: Mediation

        If a Litigation Claim is not resolved pursuant to the Offer Exchange Procedures or the
Informational Resolution Procedures set forth in Section V.C above, the next stage of the ADR
Procedures will be mediation, in which case the following mediation procedures will apply (the
“Mediation Procedures”). Any party may be represented by legal counsel, although the
participation of legal counsel shall not be required to conduct the Mediation Procedures.

                   1.           Mediation Notice

        If a Litigation Claim is not resolved pursuant to the Offer Exchange Procedures or the
Informal Resolution Procedures, ORIC shall serve a notice of mediation (the “Mediation Notice”),
substantially in the form annexed hereto as Exhibit C, on the Litigation Claimant within 10 days
after the completion of the Offer Exchange Procedures or as soon thereafter as is reasonably
practicable.

        With respect to any Potential Third-Party Payor Litigation Claims, ORIC will also serve
the Mediation Notice on the applicable Third-Party Payor and shall give such Third-Party Payor
10 days’ notice of any mediation and the opportunity to participate. If the Third Party Payor elects
to participate in the Mediation Procedures, ORIC shall not make or accept any settlement offers
without the prior written consent of the Third Party Payor; provided, however, that if the settlement
amount does not require the participation by such Third Party Payor in any respect, ORIC and the
Debtors may proceed to make or accept settlement offers without the consent of the Third Party
Payor.

                   2.           Appointment of a Mediator.

          ORIC and the Debtors (if they elect to participate) shall identify three experienced
mediators for consideration by the Claimant. The Claimant shall select one of the mediators from
the list.

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        All mediators shall be impartial and neutral. No mediator shall have any financial or
personal interest in or relation to the proceedings or, except where otherwise agreed by the parties,
in any related matters.

                   3.           Fees and Costs of a Mediator.

       The fees and costs of the mediator shall be paid by ORIC and/or the Third-Party Payor (if
applicable), if applicable. The Claimant shall bear the cost and expense of its own counsel, experts,
witnesses, and prosecution.

                   4.           Location and Scheduling of Mediation.

        The Claimant, ORIC and (if they elect to participate) the Debtors (and, if applicable, the
Third-Party Payor with respect to any Potential Third-Party Payor Litigation Claims) shall
reasonably confer regarding the time, duration, and location of the Mediation; provided, however,
that the mediation shall occur within 60 days of appointment of the mediator. All mediation
sessions may take place virtually.

                   5.           Mediation Statements.

        On or before 10 days prior to the scheduled mediation, the Claimant shall serve on the
mediator, ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) by email and no
later than by 6:00 p.m. (EST), a non-confidential (as between the parties and the mediator), pre-
mediation statement (the “Opening Statement”), not to exceed 10 pages, excluding any
attachments, setting forth all of the Claimant’s claims and identifying each and every cause of
action or theory the Claimant asserts, including a short and plain statement of the facts and law
upon which the Claimant relies for recovery and maintains entitle it to relief. The Claimant shall
include, as exhibits or annexes to the Opening Statement, any documents, affidavits, or other
evidentiary materials on which the Claimant relies, but which are not attached to the Claimant’s
proof of claim.

        On or before five days after service of the Opening Statement, ORIC and (if they elect to
participate) the Debtors (and/or the Third-Party Payor, if applicable) shall serve on the mediator
and the Claimant, by email and no later than by 6:00 p.m. (EST), a non-confidential (as between
the parties and the mediator) response statement (the “Response Statement”) not to exceed 10
pages, excluding attachments.

        At the mediator’s discretion and direction, the parties may submit additional, confidential
letters or statements to the mediator only, addressing settlement amounts and such related
negotiation matters as the mediator may request.

                   6.           Confidentiality of Mediation.

        All meetings and proceedings, including any statements made and evidence introduced
during the Mediation, shall be confidential among ORIC, the Debtors, the Committee, applicable
Third-Party Payors, the relevant Claimant, and the mediator, and no party shall disclose the
contents of such meetings and proceedings without the prior written consent of each of the other
parties. Any and all statements made and evidence introduced at these meetings and proceedings

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shall not be subject to discovery in any subsequent proceeding unless otherwise independently
discoverable under the applicable rules, nor may the mediator serve or be called as a witness in
any subsequent proceeding relating to the Litigation Claim.

                   7.           Conclusion of Mediation Procedures/Mediated Settlement.

        The mediator will work with all parties towards reaching a settlement. The mediator shall
not have any authority to impose a settlement upon the parties. Unless otherwise agreed to by the
Claimant, ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) in writing, the
mediation process will terminate 30 days after the close of the initial mediation session. A
settlement reached pursuant to the Mediation Procedures shall be paid as set forth in Section V.I
below. If a settlement does not result from mediation and the mediator advises the Claimant,
ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) that the parties have
participated in good faith but reached an impasse, then Stage 5, as set forth in Section V.E below,
will follow. Unless otherwise agreed to by the Debtors, the Committee and ORIC, no
Claimant may proceed with litigation of or otherwise initiate any process or proceeding to
pursue, the Litigation Claim without having first completing the Mediation Procedures.

                   8.           Duty to Participate in Mediation Procedures

       The failure of any party to attend any mediation conference shall be governed by Local
Bankruptcy Rule 9019-5(c)(iii)(B), and any failure to attend or lack of good faith by any party
during the course of the mediation process may result in court-imposed sanctions.

         E.        Stage 5: Relief from the ADR Injunction

        Completion of the Offer Exchange Procedures and the Mediation Procedures is a
prerequisite for a Claimant to obtain relief from the ADR Injunction. Except as provided below,
the ADR Injunction shall remain in effect against each Claimant until relief from the ADR
Injunction is granted by the Bankruptcy Court with respect to the relevant Litigation Claim or as
otherwise provided for herein. No Claimant shall be granted relief from the ADR Injunction to
commence or continue any action, suit, trial, or other process, including, but not limited to,
discovery, or to pursue its Litigation Claim in any nonbankruptcy forum, until the Claimant has
completed the Offer Exchange Procedures and the Mediation Procedures.

        The ADR Injunction may be modified by a joint stipulation executed by the Debtors,
ORIC, and the Claimant (the “Stipulation”), with the consent of the Committee, to permit the
liquidation of a Litigation Claim that is not resolved through the ADR Procedures. To the extent
the Claimant has completed the Offer Exchange Procedures and the Mediation Procedures, and
the Debtors and Claimant do not execute a Stipulation mutually agreeing to modify the ADR
Injunction, the Claimant may seek relief from the ADR Injunction subject to the following terms
and conditions:

                                a.     When Motion for Relief from ADR Injunction May Be Heard. If a
                                       Litigation Claim has not been resolved upon completion of the Offer
                                       Exchange Procedures and the Mediation Procedures, the Claimant
                                       shall have the right to seek relief from the ADR Injunction by filing
                                       a motion with the Bankruptcy Court. The motion shall be served

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                                     upon the Debtors, ORIC, the Committee, and any applicable Third-
                                     Party Payor(s), and their counsel. Unless otherwise sought by the
                                     Claimant, the motion and the hearing on the same shall be subject to
                                     Local Bankruptcy Rules for the District of Delaware.

                                b.   Claimant’s Certificate. A Claimant’s motion seeking relief from the
                                     ADR Injunction must include as an attachment a certification signed
                                     by the Claimant or their attorney certifying that the Claimant has
                                     completed the ADR Procedures and that despite the Claimant’s
                                     good faith participation in such process the Litigation Claim remains
                                     unresolved and unliquidated. In the absence of this certification, the
                                     Bankruptcy Court may summarily deny Claimant’s motion.

                                c.   No Waiver of Defenses. The submission of any Litigation Claim to
                                     the ADR Procedures shall not constitute or serve as a waiver or
                                     release of any defenses or claims which the Debtors, on their own
                                     behalf or on behalf of their estates, ORIC, or any applicable Third-
                                     Party Payor may have with respect to a Claimant’s request for
                                     modification of the ADR Injunction. The Debtors, ORIC, any
                                     Third-Party Payor, or any other interested party, may oppose a
                                     Claimant’s request for relief from the ADR Injunction on the basis
                                     that the Claimant has not participated in the ADR Procedure in good
                                     faith, or for any other appropriate reason, including, but not limited
                                     to, the applicability of any discharge of the Litigation Claim under
                                     the Bankruptcy Code. Moreover, the submission of any Litigation
                                     Claim to the ADR Procedures shall not constitute or serve as a
                                     waiver or release of any claim or defense which may otherwise be
                                     available to the Debtors, on their own behalf or on behalf of their
                                     estates, ORIC, or any Third Party Payors, including, but not limited
                                     to, any policy condition that may exist at law or in equity and that
                                     may be asserted in defending against any Litigation Claim, or which
                                     impacts insurance coverage for any Litigation Claim, in the event
                                     that the ADR Injunction is modified by order of the Bankruptcy
                                     Court.

         F.        Duty to Negotiate in Good Faith

        During the period of these ADR Procedures, the Claimant, ORIC, the Third-Party Payors,
and the Debtors and Committee, if applicable, shall negotiate in good faith in an attempt to reach
an agreement for the compromise of the Litigation Claim; provided, however, that any dispute as
to the underlying value of the claim shall not, in and of itself, constitute bad faith.

         G.        Admissibility of ADR Proceedings

       Other than as expressly provided herein, the submission of any Litigation Claim to the
ADR Procedures, the positions of the parties during compliance with the ADR Procedures, and
any other admissions made during the ADR Procedures, shall not be admissible for any purpose

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in any case, matter, or proceeding including, without limitation, trial by any party or third party,
or any proceeding under 11 U.S.C. § 502, and are expressly determined by the provisions herein
not to be admissions by either party. Such positions and statements shall remain confidential
among the parties and any mediator and protected by Rule 408 of the Federal Rules of Evidence.

        The mediator may not be compelled to disclose to the Court or to any person outside the
mediation conference any of the records, reports, summaries, notes, communications, or other
documents received or made by the mediator while serving in such capacity. The mediator may
not testify or be compelled to testify regarding the mediation in connection with any arbitral,
judicial or other proceeding. The mediator will not be a necessary party in any proceedings relating
to the mediation. Nothing contained in this paragraph prevents the mediator from reporting the
status, but not the substance, of the mediation effort to the Court.

         H.        Discovery

        To avoid undue expense or delay, any materials, testimony, or other evidence submitted by
either party during the course of the ADR Procedures, and of the kind normally available in
discovery proceedings may, upon written agreement of the parties, be treated as if submitted in
pretrial discovery proceedings.

         I.        Allowance and Payment of Any Settlement

       If you hold a Litigation Claim with respect to which settlement has been reached
through the ADR Procedures, please read the following carefully. Any settlement reached
pursuant to the ADR Procedures will be paid by ORIC or the Third-Party Payor, if
applicable. Unless the Debtor and the Committee consent otherwise, you must waive and
release any and all claims against the Debtors, their chapter 11 estates, the Indemnitees and
their personal assets, ORIC, and the Third-Party Payor, if applicable, to receive such
payment(s).

       For settlement agreements reached between ORIC, the Debtors (if they elect to
participate), Third-Party Payor(s) (if applicable), the Committee (if applicable), and the
Claimant, ORIC (and/or the Third-Party Payor) will be obligated to and will actually pay
the agreed-upon settlement amounts directly to or on behalf of the Claimant.

VI.      FAILURE TO COMPLY WITH ADR PROCEDURES

       If, absent written agreement by the Debtors and the Committee, a Claimant fails to comply
with the ADR Procedures, negotiate in good faith, or cooperate with ORIC, the Debtors, or any
applicable Third-Party Payor, and as may be necessary to effectuate the ADR Procedures, the
Bankruptcy Court may, after notice and a hearing, find such conduct to be in violation of the ADR
Order or an abandonment of or failure to prosecute the Litigation Claim, or both. The Bankruptcy
Court may consider all parties’ actions during the course of the ADR Procedures in deciding
whether the Claimant should be granted relief from the ADR Injunction and the automatic stay to
pursue their Litigation Claim and/or Lift-Stay Motion.




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VII.     MODIFICATION OF ADR PROCEDURES BY WRITTEN CONSENT

       Notwithstanding anything to the contrary contained herein, the ADR Procedures,
including, but not limited to, any related deadlines, may be modified or extended by the written
consent of ORIC, the Debtors, the Claimant, and the Committee.

VIII. NOTICE

        Whenever notice or service of papers is required under the ADR Procedures, it shall be
given in the manner provided in the relevant section as follows:

         If to the Debtors:

         Yellow Corporation
         11500 Outlook Street, Suite 400
         Overland Park, Kansas 66211
         Attention:    Legal@myyellow.com

         with copies to (which copies shall not constitute notice):

         Kirkland & Ellis LLP
         300 N. LaSalle, 60654
         Chicago, IL
         Attention:    Michael B. Slade
                       Michael Esser
                       Casey McGushin
                       William T. Pruitt
                       Zak Read

         Email:                 michael.slade@kirkland.com
                                Michael.esser@kirkland.com
                                Casey.mcgushin@kirkland.com
                                william.pruitt@kirkland.com
                                zak.read@kirkland.com


         and

         Kirkland & Ellis LLP
         601 Lexington Avenue
         New York, NY 10022
         Attention:    Allyson Smith
         Email:        allyson.smith@kirkland.com


         If to Old Republic Insurance Company:

         Old Republic Risk Management

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         307 N. Michigan Avenue
         Chicago, IL 60601
         Attention:    Ozie Lewis
                       Peter Waldron
         Email:        olewis@orrm.com
                       pwaldron@orrm.com

         If to the Committee:

         Akin Gump Strauss Hauer & Feld LLP
         1 Bryant Park
         Bank of America Tower
         New York, NY 10036
         Attention:    Philip C. Dublin
                       Meredith Lahaie
                       Kevin Zuzolo
         Email:        pdublin@akingump.com
                       mlahaie@akingump.com
                       kzuzolo@akingump.com




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                                             Exhibit A

                                       Litigation Claims List

                     Claimant                                Claim No(s)
 1.                  Acevedo, Rodin, Sr                      4287
 2.                  Amaker, Henry                           5469
 3.                  Auguste, Micheline                      10265
 4.                  Baker, Devin                            15159
 5.                  Banda, Anthony                          15432
 6.                  Banda, Refell                           15436
 7.                  Basinger, James                         1377
 8.                  Bienvenu, Beatrice                      12484
 9.                  Binette, Myriam                         502
 10.                 Bk, Minor                               15350
 11.                 Boblitt, Robert E.                      13798
 12.                 Bowman, Janet                           12247
 13.                 Brown, Melissa D. (As Adm. Est. Of MD 15297
                     Brown)
 14.                 Brown, Michael Shad                     16767
 15.                 Bufford, Russell                        10184
 16.                 Buford, Virginia                        14888
 17.                 Canton, Andrew                          1943
 18.                 Carillo, Robert                         18025
 19.                 Charmaine, Yanto And Deleon, James Carl 3605
 20.                 Childs, Dontoi                          16660
 21.                 Chung, Seung                            3568; 3569; 3570
 22.                 Clarin, Shannon                         784
 23.                 Clark, Jean                             4657
 24.                 Clark, Paul                             4656
 25.                 Comm. Of Ma Dept. Industrial Accidents 16036
 26.                 Cook, Emily                             15068
 27.                 Cook, Kevin                             15389; 15390; 15391
 28.                 Cruz, Yeferson Deleon                   287
 29.                 Cuji-Usha Marvo V.                      4289
 30.                 Daugherty, Donna Lee                    14230
 31.                 Davis, Hatley                           16137
 32.                 Davison, Anton                          4363
 33.                 De La Rosa, Kimberly                    14816
 34.                 Degenkolb, Susan                        13616
 35.                 Deliyah, Rogers                         3621
 36.                 Deterding, Philip B.                    14439
 37.                 Diaz, Albery Lora                       14959
 38.                 Diaz, Yeudy Lora                        14961
 39.                 Drew, Derrick                           4651

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                     Claimant                               Claim No(s)
 40.                 Drinkwine, Nathan                      16437
 41.                 Dunlap, Kelsi                          13325
 42.                 Dysart Taylor Mcmonigle Brumitt &      18710
                     Wilcox
 43.                 Ellis, Jason E.                        4399; 15919
 44.                 Elsamady, Ahmed                        4398
 45.                 Feliu, Alexei                          10896
 46.                 Fezza, James                           5468
 47.                 Funches, Collin Tyus                   15395
 48.                 Gaito, Daniela                         17247
 49.                 Garcia, Margarita                      10477
 50.                 Gatton, Molly                          1237
 51.                 Gibby, Gary W.                         15153; 15392
 52.                 Gilmore, Jimmie And Natterlene         14689
 53.                 Gomez, Casey                           15439
 54.                 Goodman, Sopia                         16971
 55.                 Grant, Ariana                          15961
 56.                 Grant, Briana                          15964
 57.                 Grant, Yona W                          15956
 58.                 Groves, Brett                          4245
 59.                 Guttenplan, Alys                       10478
 60.                 Hage, Richard M Ver                    16347
 61.                 Hall, Derek                            15766
 62.                 Hanford, Paige                         2410
 63.                 Harrison, Zachary                      15087
 64.                 Hauser, Patrick                        18308
 65.                 Hershowitz, John                       16337
 66.                 Hill, Antonio                          17182
 67.                 Hobbs, Enrique                         13583
 68.                 Howard, James Charles                  11337
 69.                 Howard, James Charles                  11337
 70.                 Hubert, Jimmie And Janel               12504
 71.                 Hucks, Novella N                       16073
 72.                 Hudson, Christine And Terry            15410
 73.                 Immer, Mark                            14780
 74.                 Immer, Mark                            15218
 75.                 Jackson, Christopher                   5461
 76.                 Jackson, Leroy F                       16061
 77.                 Jones, Ben                             12391
 78.                 Jones, Dolores                         16668
 79.                 Kayla Melancon                         2648
 80.                 Kelsie, Adam S                         10990
 81.                 Khaira, Jarnail Singh                  10234
 82.                 Kiel, Joshua                           15344

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                     Claimant                                 Claim No(s)
 83.                 Kinley Golf                              17860
 84.                 Kirn, Amanda                             10801
 85.                 Kirn, Colenan B                          10800
 86.                 Kitzmiller, Christie                     10671
 87.                 Kline, Stephen                           1855
 88.                 Koslow Law Llc                           15938
 89.                 Kouloujian, Aram                         17250
 90.                 Kouloujian, Hagop                        17241
 91.                 Kriscta Lucio As Next Friend Of          3620
 92.                 Kunkle, Mathew                           10305
 93.                 Lambert, Ricky                           15558
 94.                 Lapolla, Blaise                          3389
 95.                 Lee, Alissa                              802
 96.                 Lemons, Rochelle                         16664
 97.                 Leung, Marina                            14980
 98.                 Ligons, Georgiann                        15966
 99.                 Littral, William                         14124
 100.                Lopez-Builes, Martha                     13806
 101.                Louro, Emily                             10911
 102.                Luce, John                               17088
 103.                Lynberg & Watkins Apc                    15072
 104.                Madden, Jaylin                           14697
 105.                Madden, Jaylin J                         14694
 106.                Malcolm, Peter                           5497
 107.                Mann, Asia                               17737
 108.                Martin, Janae                            18091
 109.                Maryland Plating & Servicing Inc         12227
 110.                Mata, Martin Nava                        17964
 111.                Maxwell Wasmiller Guardian For           5335
 112.                Mccully, Alexis                          15050
 113.                Mcghee, Derrick                          14365
 114.                Mckenzie, Cecile                         562
 115.                Mckinney, Damon                          2749
 116.                Mencke, Charles W                        1260
 117.                Meza, Ramiro                             15352
 118.                Miller, Bob                              1849
 119.                Mills, Destiny                           17454
 120.                Mills, Jada                              17452
 121.                Mills, Sky                               17455
 122.                Misquez, Aaron S                         15808
 123.                Mongelli, Paul L                         3625
 124.                Monsalve, Ailyn Sayegh C/O Yelimar K S   17599
 125.                Monsalve, Yelimar Karina Sira            17598


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                     Claimant                                Claim No(s)
 126.                Moonilal-Singh, Kavir                   12599
 127.                Morgan, Angela                          17623
 128.                Morgan, Krislyn                         17637
 129.                Misquez, Aaron S.                       15808; 15812
 130.                Monsalve, Yelimar Karina Sira           3403; 17598; 17599
 131.                Moonilal-Singh, Kavir                   13597; 13599
 132.                Napiwocki, Jill                         4658
 133.                Nasilai, Kalesita                       16676
 134.                Nasser, Amer                            10015
 135.                New Enterprise Stone & Lime Company Inc 16940
 136.                New Enterprise Stone& Lime Company Inc 16962
 137.                New York State Dept Of Transportation   250
 138.                Newport, Michael E                      1413
 139.                Newton, Jesse Isreal                    16346
 140.                Nextmed Reviews Llc                     16141
 141.                Nibbelin, David                         10126
 142.                Nowicki, Lawrence                       16187
 143.                O'donnell, Richard                      16661
 144.                Oncor Electric Delivery                 14209
 145.                Openshaw, Anne-Celeste                  16118
 146.                Ortega, Gustavo (Ocegueda)              4703
 147.                Osman, Tariq                            12893
 148.                Peguero, Yency                          608
 149.                Perez-Ortiz, Yuritsi                    15843
 150.                Perez-Valencia, Lexington               14563
 151.                Ponce, Leonel                           17565; 17568; 17569; 17572
 152.                Powell, Anthony                         15592
 153.                Preciado, Maria J                       13734
 154.                Prescott, Lomekina                      16674
 155.                Proctor, Rockey                         15022
 156.                Richardson, Erica                       15950
 157.                Riley, Cherry B                         3636
 158.                Rivera Romero, Leslie                   2985
 159.                Rizzi, Tony                             11657
 160.                Robles, Samuel                          17957
 161.                Rodriguez, Ashlee                       2945
 162.                Rodriguez, Raudin                       14886
 163.                Ropshaw, Cade                           17755
 164.                Salazar, Miranda                        12089
 165.                San Diego Gas & Electric Company        148
 166.                Sanders, John And Hannah                3716
 167.                Sansom, Larry E, Sr                     1768
 168.                Scheele, Walter W                       1323


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                     Claimant                                  Claim No(s)
 169.                Schimmoller, James D                      14738
 170.                Selby, Robert                             16071
 171.                Session, Qusarn                           10051
 172.                Shobey, James                             3327
 173.                Siro-Monsalve, Yelimar                    3403
 174.                Sneed, Hodges                             16012
 175.                Socci, Theodore M                         13262
 176.                Sosa, Juan                                10476
 177.                Sousa, Nicole                             16706
 178.                Stephens, Jeffrey And Jennifer            15085
 179.                Stine Llc                                 11975
 180.                Tav Enterprises Llc                       3676
 181.                Tav Enterprises Llc                       3675
 182.                Thomas & Company Lpa                      18509
 183.                Tinsley, Jesstina                         10049
 184.                Tk, Minor(M Kiel118 Garrett Drfolsomca)   15347
 185.                Totten, Gregory                           5460
 186.                Transhield Inc                            16126
 187.                Trice, Whittni L                          16064
 188.                Turakulov, Damir                          15875
 189.                Ulloque, Omeira                           10014
 190.                Vanegas, Christopher                      13432
 191.                Vannatta, Michael L                       18374
 192.                Veasey, Zackary                           16283
 193.                Vega, Gabriela                            12178
 194.                Waters-Ocasio, Laureen                    17576
 195.                Webb, Jennifer                            3379
 196.                Williams, Bernard                         16068
 197.                Windh, Tobias                             12840
 198.                Winston, Joyce A                          2413
 199.                Wyszynski, Paul                           11187




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                                       Exhibit B

                                      ADR Notice




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

             ADR NOTICE AND DEADLINE FOR SUBMISSION OF INFORMATION

Service Date:
Claim No(s).:
Claimant:
Address:
Claimant’s Attorney (if known):

Deadline to Respond (“Response Deadline”):

       You are receiving this notice (the “ADR Notice”) because your claim against Yellow
Corporation and its affiliated debtors (collectively, the “Debtors”) or against any Indemnitees has
been submitted to alternative dispute resolution pursuant to the alternative dispute resolution
procedures (the “ADR Procedures”) established by order of the United States Bankruptcy Court
for the District of Delaware entered in the above-captioned cases on ______________, 2024
[Docket No. [●]] (the “ADR Order”). The ADR Procedures will be implemented, administered,
and coordinated by Old Republic Insurance Company (“ORIC”), in consultation with the Debtors
and the Committee.

       A copy of the ADR Procedures, as approved by the ADR Order, is annexed hereto. Any
terms not defined herein or in any subsequent notices that you may receive regarding the ADR
Procedures shall have the meanings attributed to them in the ADR Procedures.

       YOU SHOULD CONSIDER CONSULTING A LAWYER. Your participation in these
ADR Procedures may either be by you or, if applicable, by a lawyer that has filed an appearance
on your behalf in the Bankruptcy Court or the court in which your previously filed lawsuit or other
proceeding is pending.

        ORIC and the Debtors, in consultation with the Committee, have reviewed your claim(s)
and offer the amounts set forth in the attached Immediate Claim Settlement Offer in full
satisfaction of your claims. You must respond to the Immediate Claim Settlement Offer either by:


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.


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       (1)     signing this ADR Notice and completing the Immediate Claim Settlement Offer
and accepting such offer; or

       (2)   by rejecting the offer and completing the attached Claim Information and
Settlement Demand Form.

         If you accept the offer, you do not need to complete the Claim Information and Settlement
Demand Form. If you reject the offer, you must complete and return the Claim Information and
Settlement Demand Form, which must include a settlement demand. If you do not return this
signed ADR Notice and the Immediate Claim Settlement Offer so that it is received by ORIC
and the Debtors by the Response Deadline, resolution of your Claim will be governed by
Section VI of the ADR Procedures. The Claimant’s ability to proceed with and participate
in the ADR Procedures will be at the discretion of ORIC, the Debtors (if they elect to
participate) and the Committee, if applicable. Any settlement reached pursuant to these
ADR Procedures will be paid by ORIC (and/or any applicable Third-Party Payor). Unless
the Debtor and the Committee consent otherwise, you must waive and release any and all
claims against the Debtors, their chapter 11 estates, the Indemnitees and their personal
assets, and ORIC and the Third-Party Payor, if applicable, to receive such payment(s).

        If you do not accept the Immediate Claim Settlement Offer, or if no Immediate Claim
Settlement Offer was made, you are required to complete and return this ADR Notice and
the attached Claims Information and Settlement Demand Form. You must complete all
sections of the Claims Information and Settlement Demand Form, including (1) the Section I
Settlement Demand which is the amount you offer to settle your claim for; and (2) the
Section II Claim information section, along with all supporting documentation. The ADR
Notice and the Claims Information and Settlement Demand Form must be returned to ORIC
and the Debtors by the Response Deadline. Failure to return this ADR Notice and the Claims
Information and Settlement Demand Form by the Response Deadline will be deemed as a
failure to comply with the ADR Procedures under Section VI thereof . The Claimant’s
ability to proceed with and participate in the ADR Procedures will be at the discretion of
ORIC, the Debtors (if they elect to participate) and the Committee, if applicable.



All responses must be sent to counsel to the Debtors and ORIC, as set forth in the ADR Procedures.




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        Pursuant to the ADR Procedures and ADR Order, your Settlement Demand may not
(i) include or make an unliquidated, unknown, or similar demand; and/or (ii) exceed the
amount of, or improve the priority set forth in, your most recent timely-filed proof of claim,
if any.

         I HAVE READ AND UNDERSTAND THIS NOTICE.


Date:
                                           Claimant Signature or Authorized Person


                                           Print Claimant or Authorized Person Name


EACH CLAIMANT MUST SIGN THIS ADR NOTICE. ADDITIONAL CLAIMANTS
MUST SIGN AND PRINT THEIR NAME ON A SEPARATE SHEET.




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                                            [optional]

                                IMMEDIATE CLAIM PAYMENT OFFER

Based on a review of documentation relating to your Claim, ORIC and the Debtors, have
determined that you have asserted your Claim in the amount of $____________, and hereby offers
to pay such Claim in the amount of $[____________].

If you agree to payment of your ADR Claim by ORIC in the amount of $____________, please
sign below and return this form to counsel to the Debtors and ORIC at the addresses set forth in
the ADR Procedures. If you accept this offer, you are not required to submit any additional
documentation or information with the return of this form. If you do not accept this offer, you
must complete and return the ADR Notice and the Claims Information and Settlement Demand
Form according to the instructions set forth in the ADR Notice and the ADR Procedures.

Payment of your Claim by ORIC does not entitle you to any other cash payments from the
Debtors and, if paid by ORIC, you will be deemed to have waived and released any and all
claims against the Debtors, their chapter 11 estates, the Indemnitees and their personal
assets, and ORIC and any applicable Third-Party Payor.

I agree to allowance of my claim as set forth in this Immediate Claim Payment Offer

Date:
                                             Claimant Signature or Authorized Person


                                             Print Claimant or Authorized Person Name


                                             Relationship to Claimant if Authorize Person

EACH CLAIMANT MUST SIGN THIS FORM. ADDITIONAL CLAIMANTS MUST SIGN
AND PRINT THEIR NAMES ON A SEPARATE SHEET.

SIGNATURE OF ATTORNEY

Date:
                                             Attorney for Claimant Signature


                                             Print Attorney for Claimant Signature




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                CLAIM INFORMATION AND SETTLEMENT DEMAND FORM1

I.        SETTLEMENT DEMAND

YOU MUST INCLUDE AN OFFER FOR WHICH YOU WOULD SETTLE YOUR
LITIGATION CLAIM. PLEASE NOTE THAT IF YOUR OFFER IS ULTIMATELY
ACCEPTED BY ORIC AND THE DEBTORS, ORIC (OR OTHER THIRD-PARTY PAYORS,
IF APPLICABLE) SHALL PAY SUCH LITIGATION CLAIM AND YOU WILL BE DEEMED
TO HAVE WAIVED AND RELEASED ANY AND ALL CLAIMS AGAINST THE DEBTORS,
THEIR CHAPTER 11 ESTATES, THE INDEMNITEES AND THEIR PERSONAL ASSETS,
AND ORIC OR ANY APPLICABLE THIRD-PARTY PAYOR.

Amount for which you offer to settle the Litigation Claim: $___________________.

II.       CLAIM INFORMATION

          CLAIMANT MUST PROVIDE THE FOLLOWING INFORMATION:

1.        Name, address, and telephone number of counsel:




2.        Names, addresses, and telephone numbers
          of all Claimants:




3.        Debtor against whom the claim is brought:

4.        Your date of birth:

5.        Date of injury:

6.        Where did the incident occur?




          Please specify the location and address.


1
      You shall not be required to provide information duplicative of supporting documentation attached to any relevant
      proof of claim filed in the chapter 11 cases.


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7.       Are you pursuing this claim against any other party? Yes ❑ No ❑
         If yes, against whom (list the name, the addresses and counsel for each party, if known)?


         Attach additional sheets if necessary.

8.       Did you notify the Debtor(s) in writing of the incident? (If yes, attach a copy of such
         writing.) Yes ❑ No ❑

9.       Is there a pending lawsuit regarding your claim? If yes, identify the court where the
         lawsuit is pending, the case number and the judge, if known and attach a copy of the
         complaint.



10.      What type of injuries or damages do you have arising from the incident? Provide a
         medical description of any injuries. (Please state if the claim is based, in whole or in part,
         on an injury or damages to someone else.)



11.      How did the injury occur?



12.      Did you miss any work as a result of the incident? If so, how many days?



13.      Give the name and address of your employer(s) and your salary or rate of pay at the time
         of the incident.



14.      Was anyone else injured or did anyone else sustain damages at the time of the incident?
         (If yes, list the names and addresses.)



15.      List the names, addresses and phone numbers of all witnesses and people with relevant
         knowledge of your claim (including, but not limited to, any representatives or agents of
         the Debtors).




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16.      Are treatments still being given for any injury? Yes ❑ No ❑



         (If yes, provide the name and address of any and all doctors that are currently treating
         you for such injury and the nature of the treatment).

17.      Physician Data

         a.        Give the name and address of any physician, clinic or hospitals that have treated
                   this injury. Include treatment dates. (Attach additional sheets if necessary)




         b.        Itemize all damages you claim, including any damages for emotional distress, loss
                   of consortium or pain and suffering.




         c.        Give the total amount of the medical bills you incurred as a result of suffering
                   your injury.




         d.        Itemize any other expenses you incurred as a result of the incident for which you
                   are making a claim.




         e.        Give a list of medical expenses and amounts paid by your insurance company as a
                   result of your injury.




         f.        Give the name, address and policy number of your insurance company.




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18.      Attach the following documents:

         a.        All medical records and bills for medical services received by the Claimant as a
                   result of the injury allegedly caused by the Debtor(s);

         b.        Autopsy/Coroner report, if applicable;

         c.        Death Certificate, if applicable; and

         d.        Photographs, videotapes, and any other documentation you wish to be considered
                   in the evaluation of your claim.

                                        [Signature Page Follows]




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NOTICE: UNDER FEDERAL LAW, CRIMINAL PENALTIES MAY BE IMPOSED FOR
FILING A CLAIM CONTAINING FALSE OR MISLEADING STATEMENTS.

I declare under penalty of perjury that the foregoing statements are correct.



Date:
                                          Claimant Signature or Authorized Person


                                          Print Claimant or Authorized Person Name


SIGNATURE OF ATTORNEY


Date:
                                          Attorney for Claimant Signature

                                          ______________________________
                                          Print attorney for Claimant Name




EACH CLAIMANT MUST SIGN THIS CLAIM INFORMATION FORM.
ADDITIONAL CLAIMANTS MUST SIGN AND PRINT THEIR NAMES ON A
SEPARATE SHEET.




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                                       Exhibit C

                                    Mediation Notice




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

                                             MEDIATION NOTICE

Service Date:
Claim No(s).:
Claimant:
Address:
Claimant’s Attorney (if known):

        By this Mediation Notice, Old Republic Insurance Company (“ORIC”) and the debtors in
the above-captioned chapter 11 cases (the “Debtors”) hereby submit the above-identified claim
(the “Litigation Claim”) in these chapter 11 cases to mediation, pursuant to the alternative dispute
resolution procedures (the “ADR Procedures”) established by order of the United States
Bankruptcy Court for the District of Delaware entered in the above-captioned cases on
____________________, 2024 [Docket No.[•]] (the “ADR Order”).

       ORIC and the Debtors have been unable to resolve your Litigation Claim on a consensual
basis with you through the Offer Exchange Procedures or the Informal Resolution Procedures of
the ADR Procedures. As provided for in the ADR Procedures, you and counsel to ORIC and the
Debtors (and any applicable Third-Party Payors) shall work in good faith to select a mediator
pursuant to Section V.D of the ADR Procedures.

       A complete copy of the ADR Procedures is enclosed for your reference. Please refer to
Section V.D of the ADR Procedures concerning mediation.

                                                       [Signature of ORIC and the Debtors]




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.


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